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105 MAIN STREET                                                                     30 WALL STREET
HACKENSACK, NJ 07601                                                                     8THFLOOR
TEL: 201-457-0071                                                               NEW YORK, NY 10005
FAX: 201-457-0072                       WWW.FOYSEPLOWITZ.COM                       TEL: 212-709-8230

                                          October 15, 2020

       Honorable Sidney H, Stein, USDCJ
       US Courthouse                                                     MEMO ENDORSED
       500 Pearl Street
       New York, NY 10007

             Re:     US v. Anthony Cheedie, et al
                     Dkt. # 19 er 833
                     Chad Allen Motion to Join Motion

       Dear Judge Stein:

       On October 13, 2020 co-defendant Cameron Brewster filed his pre-trial omnibus
       motions for a Bill of Particulars, suppression of certain evidence, obtain discovery and
       obtain other related relief. I have reviewed the motion and corresponding caselaw. I
       have also spoken with Mr. Brewster's attorney, Ryan Poscablo, regarding their
       submissions.

       Based upon the foregoing, I move to have Chad Allen join the motions filed by
       Cameron Brewster. Specifically, Mr. Allen joins the following motions:

             1.   Bill of Particulars pursuant to FRCP 7(£);
             2.   Disclosure of Brady, Giglio, and Jencks Act material;
             3.   Disclosure of Grand Jury Testimony pursuant to FRCP 6(3)(E)(ii);
             4.   Permission to File Additional and Supplemental Motion and/or to Join Co­
                  defendant's motions.

       As of this submission, the defense has reviewed less than 50% of the discovery already
       provided. The Government's rolling production of the voluminous discovery has the
       potential to influence future legal issues that may be subject to a motion. We will
       continue our due diligence and raise any additional issues in a timely fashion. Thank
       you for your thoughtful consideration.

       Sincerely,
                                                           Application granted.
       FOY & SEPLOWITZ LLC

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       JASONE. FOY
                                                           Dated: New York, New York
                                                                  October 15, 2020

       jfoy@foyseplowitz.com
